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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,            )
                                     )           4:10CR3005
            Plaintiff,               )
                                     )
 vs.                                 )           ORDER
                                     )
SKYLER SHAWN SPEAR,                  )
                                     )
            Defendant.               )

      The court has been presented a Financial Affidavit (CJA Form
23) signed by the above-named defendant in support of a request for
appointed counsel. After a review of the Financial Affidavit, I find
that the above-named defendant is eligible for appointment of counsel
pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and the
Amended Criminal Justice Act Plan for the District of Nebraska.
       IT THEREFORE HEREBY IS ORDERED:
      The Federal Public Defender for the District of Nebraska is
appointed to represent the above named defendant in this matter. In
the event that the Federal Public Defender accepts this appointment,
the Federal Public Defender shall forthwith file a written appearance
in this matter. In the event the Federal Public Defender should
decline this appointment for reason of conflict or on the basis of
the Criminal Justice Act Plan, the Federal Public Defender shall
forthwith provide the court with a draft appointment order (CJA Form
20) bearing the name and other identifying information of the CJA
Panel attorney identified in accordance with the Criminal Justice Act
Plan for this district.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of
this order to the Federal Public Defender for the District of
Nebraska by electronic notification.
       DATED February 24, 2010.

                             BY THE COURT
                             s/Cheryl R. Zwart
                             Cheryl R. Zwart
                             United States Magistrate Judge
